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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION
UNITED STATES OF AMERICA,

                    Plaintiff,                 Case No. 2:11-cr-20425
                                               Hon. Robert H. Cleland
v

JOSHUA RAMON,

                    Defendant.
                                    /

                     ORDER FOR WAGE ASSIGNMENT

      This matter having come before the Court upon the agreement of the parties,

and the Court finding cause, now therefore,

      IT IS ORDERED that defendant, Joshua Ramon shall assign $25.00 per

week, from his weekly wages, for application against the judgment in this case; and

      IT IS FURTHER ORDERED that Auto Warehousing shall deduct the sum

of $25.00 per weekly pay period from the gross weekly wages of Joshua Ramon,

whose social security number is XXX-XX-0974; and

      IT IS FURTHER ORDERED that Auto Warehousing shall remit the

monies so deducted to the Clerk of the Court – Eastern District of Michigan, 5th

Floor, Theodore Levin US Courthouse and Federal Building, 231 W. Lafayette,

Detroit, MI 48226; and

      IT IS FURTHER ORDERED that the Clerk of the Court shall disburse these
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funds in accordance with the provisions of the judgment in this case; and

      IT IS FURTHER ORDERED that this order shall remain in effect until such

time as the judgment in this case is paid in full, Joshua Ramon is no longer

employed with, or working for, Auto Warehousing or further order of the Court;

and

      IT IS FURTHER ORDERED that the United States shall promptly serve a

copy of this order on the defendant and on Auto Warehousing, 22400 Vreeland

Road, Trenton, Michigan, 48183.




Dated: January 25, 2016               s/Robert H. Cleland
                                      HONORABLE ROBERT H. CLELAND
                                       United States District Judge




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